                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     ) Case No. 1:06-cr-012-CLC-SKL-1
v.                                                   )
                                                     )
JOSEPH G. HARDIN                                     )

                               MEMORANDUM AND ORDER

       JOSEPH G. HARDIN, (“Defendant”) appeared for a hearing on June 24, 2022, in
accordance with Rules 5 and 32.1 of the Federal Rules of Criminal Procedure on the Petition and
Order for a Warrant for an Offender Under Supervision (“Petition”) in the above matter.

        Defendant was placed under oath and informed of his constitutional rights. It was
determined that Defendant wished to be represented by an attorney and he qualified for appointed
counsel. Federal Defender Services of Eastern Tennessee was appointed to represent Defendant.
It was also determined that Defendant had been provided with and reviewed with counsel a copy
of the Petition.

       The Government moved that Defendant be detained without bail pending his revocation
hearing before U.S. District Judge Curtis L. Collier. Defendant waived his right to a preliminary
hearing and a detention hearing.

       Based upon the Petition and waiver of preliminary hearing, the Court finds there is probable
cause to believe Defendant has committed violations of his conditions of supervised release as
alleged in the Petition.

       Accordingly, it is ORDERED that:

       (1) Defendant shall appear for a revocation hearing before U.S. District Judge Collier.

       (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL pending
       his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport Defendant to an in-person revocation hearing before
       District Judge Collier at 2:00 p.m. on Wednesday, June 29, 2022.

       SO ORDERED.

       ENTER.                                s/Susan K. Lee
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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